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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


CRAIG WILSON, ERIC BELLAMY,                       )   CASE NO.: 4:20cv794
KENDAL NELSON, and MAXIMINO                       )
NIEVES, on behalf of themselves and those         )
similarly situated,                               )
                                                  )
                       Petitioners,               )   JUDGE: JAMES S. GWIN
                                                  )
               v.                                 )
                                                  )
MARK WILLIAMS, Warden of Elkton                   )
Federal Correctional Institution; and             )
MICHAEL CARVAJAL, Federal Bureau of               )
Prisons Director, in their official capacities,   )
                                                  )   RESPONSE TO COURT ORDER
                       Respondents.               )


       Pursuant to the Court Order issued at 1:00 pm on April 17, 2020, the Respondent will

provide the Court with raw data regarding the inmates identified by the Health Services

Department as high risk pursuant to the CDC guidelines, as described at the Declaration of Sarah

Dees, Government Ex. A to it Response, ECF # 10-1 at Paragraphs 30-31 PageID 180-81. Due to

privacy concerns, the Respondent is providing the information to the Court, en camera, and not
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filing it on the public docket. Respondent will send the list via electronic mail to

Kayla_Sartschev@ohnd.uscourt.gov.



                                                 Respectfully submitted,

                                                 JUSTIN E. HERDMAN
                                                 United States Attorney

                                           By: /s/ James R. Bennett II
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